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              UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF FLORIDA
                   FORT MYERS DIVISION
MARY JANE BENJAMIN,

        Plaintiffs,

v.                                                        Case No. 2:21-CV-00328-JLB-NPM

WESTERN WORLD INSURANCE COMPANY,

      Defendants.
___________________________

                           Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except those
described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or by
     comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on 6/3/2021. Douglas Cohen, Esq.
     for Defendant and Casey Clouchete, Esq. for Plaintiff attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:

     Action or Event                                                            Date

     Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                                6/21/2021
     P. 26(a)(1).

     Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                7/27/2021
     or amend the pleadings, see Fed. R. Civ. P. 15(a).




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     Plaintiff’s deadline for disclosing any expert report. See Fed. R. Civ. P.     3/28/2022
     26(a)(2).

     Defendant’s deadline for disclosing any expert report.                         4/21/2022

     Deadline for disclosing any rebuttal expert report.                            5/20/2022

     Deadline for completing discovery and filing any motion to compel
                                                                                    8/8/2022
     discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

     Deadline for moving for class certification, if applicable. See Fed. R.          N/A
     Civ. P. 23(c).

     Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                    9/8/2022
     P. 56. (Must be at least five months before requested trial date.)

     Deadline for participating in mediation. See Local Rules, ch. 4.
     Enter mediator’s name, address, and phone number.                              9/15/2022



     Date of the final pretrial meeting. See Local Rule 3.06(a).                    10/1/2022

     Deadline for filing the joint final pretrial statement, any motion in
     limine, proposed jury instructions, and verdict form. See Local Rule           10/15/2022
     3.06(b). (Must be at least seven days before the final pretrial conference.)

     Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                    10/22/2022
     Rule 3.06(b).

     Month and year of the trial term.                                              11/1/2022


    The trial will last approximately 3-4 days and be

    ☒ jury.
    ☐ non-jury.

3. Description of the Action

First party property insurance dispute stemming from Plaintiff’s claim for damages
due to December 22, 2018 wind and/or hail event. Plaintiff alleges breach of
contract as a result of the Defendant’s denial of the claim.




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4. Disclosure Statement

    ☒ The parties have filed their disclosure statement as required by Federal Rule of
    Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action

    ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
    notify the judge of a related action pending in the Middle District or elsewhere by
    filing a “Notice of a Related Action.” No notice need be filed if there are no related
    actions as defined by the rule.

6. Consent to a Magistrate Judge

    “A United States magistrate judge in the Middle District can exercise the maximum
    authority and perform any duty permitted by the Constitution and other laws of the United
    States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
    matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
    28 U.S.C. § 636(c).

    The Court asks the parties and counsel to consider the benefits to the parties and the Court
    of consenting to proceed before a magistrate judge. Consent can provide the parties
    certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
    can decide not to consent and continue before the district judge without adverse
    consequences. See Fed. R. Civ. P. 73(b)(2).

    ☐ The parties do consent and file with this case management report a completed
    Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
    Judge,” which is available on the Court’s website under “Forms.”
    ☒ The parties do not consent.

7. Preliminary Pretrial Conference

    ☒ The parties do not request a preliminary pretrial conference before the Court
    enters a scheduling order.
    ☐ The parties do request a preliminary pretrial conference, and the parties want to
    discuss enter discussion points.




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8. Discovery Practice

    The parties should read the Middle District Discovery Handbook, available on the Court’s
    website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
    in this District.

    ☒ The parties confirm they will comply with their duty to confer with the opposing
    party in a good faith effort to resolve any discovery dispute before filing a motion.
    See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9. Discovery Plan

    The parties submit the following discovery plan under Rule 26(f)(2):

    A.      The parties agree to the timing, form, or requirement for disclosures under
            Rule 26(a):

            ☒ Yes.
            ☐ No; instead, the parties agree to these changes: enter changes.

    B.      Discovery may be needed on these subjects: All subjects relevant to the
            subject claim.

    C.      Discovery should be conducted in phases:

            ☒ No.
            ☐ Yes; describe the suggested phases.

    D. Are there issues about disclosure, discovery, or preservation of
       electronically stored information?

            ☒ No.
            ☐ Yes; describe the issue(s).

    E.      ☒ The parties have considered privilege and work-product issues,
            including whether to ask the Court to include any agreement in an order
            under Federal Rule of Evidence 502(d).




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    F.      The parties stipulate to changes to the limitations on discovery imposed
            under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
            limitations:

            ☒ No.
            ☐ Yes; describe the stipulation.

10. Request for Special Handling

    ☒ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
    requested special handling.

11. Certification of familiarity with the Local Rules

    ☒ The parties certify that they have read and are familiar with the Court’s Local
    Rules.

12. Signatures



/s/ Douglas M. Cohen                               /s/ Casey Clouchete
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6/7/2021                                           6/7/2021




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